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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA,

              Plaintiff,                              Case No. 21-cr-20184-01
                                                      Hon. Matthew F. Leitman
v

D1, MICHAEL FRALEY, JR.,

           Defendant.
__________________________________________________________________/

                           MOTION AND ORDER TO SEAL

        The United States of America by and through its undersigned attorney=s

respectfully requests that Exhibit 1 for the United States of America’s Supplemental

Response to Defendant’s Motion to Revoke Detention Order be sealed until further

order of this Court because it contains personally identifiable information.

                                        Respectfully submitted,

                                        SAIMA S. MOHSIN
                                        Acting United States Attorney

Dated: July 22, 2021                    s/BLAINE LONGSWORTH
                                        Assistant United States Attorney
                                        600 Church Street, Flint, MI 48502
                                        Phone: (810)766-5177
                                        Blaine.longsworth@usdoj.gov
                                        P55984

        IT IS SO ORDERED.

                                        /s/Matthew F. Leitman
                                        MATTHEW F. LEITMAN
Dated: July 22, 2021                    UNITED STATES DISTRICT JUDGE
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I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on July 22, 2021, by electronic means and/or ordinary mail.

                                             s/Holly A. Monda
                                             Case Manager
                                             (810) 341-9764
